Case 2:07-cr-01048-VBF Document 108-2 Filed 01/12/09 Page 1 of 1 Page ID #:252



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   6
   7                            UNITED STATES DISTRICT COURT
   8                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
   9                                     WESTERN DIVISION
 10
 11    UNITED STATES OF AMERICA                 )     Case No.: CR 07-1048-VBF
                                                )
 12                     Plaintiff,              )     [Proposed] Order to Modify Pretrial Release
                                                )     to Delete Home Detention / Electronic
 13           v.                                )     Monitoring for Defendant Lashawn Andrea
                                                )     Lynch
 14                                             )
       LASHAWN ANDREA LYNCH                     )
 15                                             )
                        Defendant.              )
 16                                             )
                                                )
 17
 18           GOOD CAUSE APPEARING,
 19           IT IS HERBY ORDERED THAT the Electronic Monitoring / Home Detention
 20    requirement of defendant LASHAWN ANDREA LYNCH’s Pretrial release is deleted.
 21    All other conditions of pretrial release shall remain the same.
 22
 23    Dated: January       , 2009
 24                                                 HON. VALERIE BAKER FAIRBANK
                                                    UNITED STATES DISTRICT JUDGE
 25
 26
 27
 28



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